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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                  Chapter 11

    LORDSTOWN MOTORS CORP., et al.,1                         Case No. 23-10831 (MFW)

                                                             (Jointly Administered)
              Debtors.
                                                            Related Docket No. 857


    CERTIFICATE OF NO OBJECTION REGARDING FOURTH MONTHLY STAFFING
      AND COMPENSATION REPORT OF HURON CONSULTING SERVICES LLC
     FOR THE PERIOD FROM NOVEMBER 1, 2023, THROUGH NOVEMBER 30, 2023

                   On December 21, 2023, the undersigned counsel filed on behalf of Huron

Consulting Services LLC (“Huron”) the Fourth Monthly Staffing and Compensation Report of

Huron Consulting Services LLC for the Period from November 1, 2023, Through November 30,

2023 [Docket No. 857] (the “Application”). The notice attached to the Application established a

deadline of January 10, 2024 at 4:00 p.m. (Eastern Time) for filing and serving objections or

responses to the Application (the “Objection Deadline”).

                   The undersigned counsel certifies that no formal or informal objections or

responses have been received with respect to the Application. The undersigned further certifies

that she has reviewed the docket in these cases and that no objection or response to the Application

appears thereon.

                   Accordingly, pursuant to the Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Chapter 11 Professionals and Committee

Members [Docket No. 181], the Debtors are authorized to pay Huron a total of $109,241.20, which

represents (i) $109,174.00 in fees [80% of the total fees $136,467.50] plus (ii) $67.20 in expenses


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      The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
      Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
      address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.


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[100%] requested in the Application upon the filing of this certificate and without the need for

entry of a Court order approving the Application.


Dated: January 18, 2024                  Respectfully submitted,
Wilmington, Delaware
                                         TROUTMAN PEPPER HAMILTON SANDERS LLP

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                                         Creditors


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